 AO 199A (Rev . 06/19) Order Setting Conditions of Release/
 (Rev. in ED/NC on 1/2020) A dditional Conditi ons of Release                                                 Page I of   4     Pages




                                         UNITED STATES DISTRICT COURT
                                                                       for the
                                                         Eastern District of North Carolina
                                                                                                        :l~ED   l11~0~3
                     United States of America                             )
                                                                                                              Peter A. Moore, Jr., Cle~
                                                                                                              US District Court
                                                                                                              eastern District of NC
                                                                                                                                          /J p
                                    V.                                    )
                                                                          )         Case No. 4:23-CR-46-1 M
                   SWANZETTA WHITEHEAD                                    )
                                                                          )
                                Defendant

                                         ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(I)    The defendant must not violate federa l, state, or local law while on release.

(2)    The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 40702.

(3)    The defendant must advise the court or the pretrial services office or supervising officer in writing before making
       any change of residence or telephone number.

(4)    The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
       the court may impose.
      The defendant must appear at:
                                                                                              Place




      on
                                                                         Dale and Tim e


       If blank, defendant wil l be notified of next appearance.

(5)   The defendant must sign an Appearance Bond, if ordered.




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                                                         ADDITIONAL CONDITIONS OF RELEASE

Pursuant to 18 U.S.C. § 3142(c)(l)(B), th e court may impose the fo llowing least restrictive co ndition(s) only as necessary to reasonably assure the
appearance of the person as required and the safety of any other person and the community.

          IT JS FURTHER ORDERED that the defend ant's re lease is subj ect to th e conditio ns marked below:

(D )       (6)   The defendant is placed in th e custody of:
                 Person or organization
                 Address (only if above is an organi=ation)
             City and state - - - - - - - - - - - , - - - - - - - - - - , - - - - - - - -                  Tel. No . _ _ _ _ _ _ _ _ _ _ _ _ __
who agrees to (a) supervise the defendant, (b) use every effo1i to ass ure the defendant' s appearance at all co urt proceedings, and (c) notify the cou rt
immed iately if the defendant violates a condition of release or is no longer in the custodi an's custody.

                                                                              Signed: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                   Custodian                                                   Date
( [gJ )     (7) The defendant mu st:
          ( [gJ ) (a) submit to superv ision by and report for supervision to the us Probation Office
                     te lephone number
                                                                                      --------------------
                                                                   , no later th an _9_/1_8_/2_0_23_ _ _ _ _ _ _ _ _ _ __
          ( [gJ ) (b) continue or active ly seek empl oyment - or educati on.
          ( D ) (c) co ntinue or start an education program.
          ( [gJ ) (d) surrender any passport to:        US Probation Office
                                                        ---,---.,----,-.,---------------------------------
          ( [gJ ) (e) not obtain a passport or other internationa l trave l document.
          ( [gJ ) (f) abide by the fo llow ing restrictions on personal assoc iatio n, residence, or travel: not travel outside the Eastern District of North Carolina without
                      the prior approval of the US Probation Office
          ( [gJ ) (g) avoi d all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                      including:

          ( D ) (h) get medi cal or psychiatric treatment:

          ( D ) (i) return to custody each        at ____ o ' clock after being released at _ _ _ _ _ o ' clock for employment, schooling,
                                            -----
                    or the fo llowing purposes:

          ( D ) U) maintain res idence at a halfway house or community corrections center, as the pretria l se rvices office o r su pervi sin g officer considers
               necessary.
          ( [gJ ) (k) not possess a firearm, destructi ve dev ice, or other weapon -See page 3, Section U, if this co nditio n applies
          ( D ) (I) not use alcohol ( D ) at all ( D ) excessive ly.
          ( D ) (m) not use or unlawfu lly possess a narcotic drug or other co ntrolled substances defined in 2 1 U.S.C. § 802, un less prescribed by a li censed
                       medical practitio ner.
          ( D ) (n) submit to te sting for a prohibited su bstance if required by the pretrial se rvices office o r supervis ing officer. Testing may be used with
                       random frequency and may include urine testing, the wearing of a sweat patch, a remote alcoho l testing system, and/or any form of
                       prohibited substance screenin g o r testing. The defendant must not obstru ct, attempt to obstruct, or tamper w ith the efficiency and accuracy
                       of proh ibited substance scree ning o r test ing.
          ( D ) (o) participate in a program of inpatient o r outpatient substance abuse therapy and cou nse ling if directed by the pretrial se rvices office or
                       supervisin g officer.
          ( D ) (p) participate in one of the fo llo w ing location restriction programs and co mply with its req uirem ents as directed.
                       ( D ) (i) Curfew. You are restricted to your res idence every day ( D ) from _ _ _ _ _ to _ _ _ _ _ , or ( D ) as
                                     directed by the pretrial serv ices office or supervi sing office r; or
                       ( D ) (ii) Home Detentio n. You are restri cted to yo ur res idence at all tim es except for em ployment; education ; religio us se rvices;
                                    med ical, substan ce abuse, or mental health tre atment; attorney visits; co urt appearances; court-ordered ob ligations; or other
                                    activities approved in advance by the pretrial services office or supervising o fficer; or
                       ( D ) (iii) Home In ca rce rati on. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                                    court appearances or other activities specifica lly approved by the court; or
                       ( D ) (iv) Sta nd Alone Mo nitoring. You have no residential curfew, home detention, or home incarceration restrictions. However,
                                    you mu st comply with the location or travel restri ctions as imposed by the court.
                                    Note: Stand Alone Monitoring shou ld be used in conjunction w ith g lobal pos itionin g system (G PS) technology.




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                                                               ADDITIONAL CONDITIONS OF RELEASE

       ( 0 ) (q) submit to the followi ng location monitoring technology and comply with its requirem ents as directed :
                 (0 ) (i)    Location monito ring tech nology as directed by the pretrial services or supe rvising office r; or
                 ( 0 ) (ii) Voice Recognition; or
                 (0 ) (iii) Rad io Frequency; or
                 ( 0 ) (iv) GPS .
       ( 0 ) (r) pay all or part of the cost of location monitoring based upon your ab ili ty to pay as determined by the pretrial services or supervis in g
                 officer.
       ( ~ ) (s) report as soo n as possible, to the pretri al services or supe rvi sing officer, every contact w ith law enforcemen t personnel, in clud ing arrests,
                 questioning, or traffic stops.
       ( 0 ) (t) submit to warrantless sea rches by US Probation of your person, residence (including any third-party custodian's residence), or any vehicle in which you are the passenger or driver of in
                      order to determine whether you are in compliance with the terms and conditions of this Order.


         (X)     (u) There shall be no firearm s, destructive dev ices, or other weapons in defendant's residence, including the res idence of any third-party
                 custodi an. (see page 2, paragra ph k)




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                                                ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENAL TIES AND SA CTIONS :

       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecuti on for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i. e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation , or intimidation are
significantly more serious if they involve a killing or attempted killing.
        If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       ( 1) an offense punishable by death , life imprisonment, or imprisonment for a term of fifteen years or more -you will be fined
              not more than $250,000 or imprisoned for not more than IO years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years - you will be fined not
              more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felon y - you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor - you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted .

                                                        Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions ofrelease. I promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.




                                                                                         Defendant 's Signature

                                                                                         GREENVILLE, NC
                                                                                             City and State



                                                     Directions to the United States Marshal

CX) The defendant is ORDERED released after processing.
(    ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
       has posted bond and/or complied with all other conditions for elease. If still in custody, the defe dant must be produced before
       the appropriate judge at the time and place specified.


Date: - - - -9/18/2023
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                                                                      KIMBERLY A. SWANK, US MAGISTRATE JUDGE
                                                                                         Printed name and title




                      DI STRIBUTION :      COU RT      DEFENDANT   PROBATI ON OFFICE     U.S. ATTO RNEY           U.S MA RSHAL




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